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Columbus Police Depanrtmeent

P.Ck Ficot 186i = §105 Tenth Gtnrsd
Columibuz, Gecogs 3108-1

   

R. T. Boren C. V. Rowe

 

 

 

 

Chief Of Police WITNESS STATEMENT FORM Assistant Chief
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Witness Statement of: vo Page of
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